                                   USMS 11320310 Document 1 Filed 06/10/24 Page 1 of 2
                          Case 1:24-mj-01443-ADC
AO 442 (Rev. 11/11) Arrest Warrant                                               By JKing1 at 9:11 am, Jun 07, 2024

                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District
                                                 __________   DistrictofofKentucky
                                                                           __________

                  United States of America
                             v.                                    )
                   William Arthur Gullett, Sr.                     )        Case No.    0:24-CR-11-DLB-CJS
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                                                                                                 ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment        u Information        u Superseding Information                     u Complaint
u Probation Violation Petition            u Supervised Release Violation Petition        u Violation Notice                  u Order of the Court

This offense is briefly described as follows:
  18:2250(a) Failure to register as sex offender




Date:         06/06/2024
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City and state:       Ashland, KY                                           ROBERT R. CARR, CLERK by Kelly Smith, D.C.
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                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                         Arresting officer’s signature



                                                                                            Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
